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                                    GUEST-TEK INTERATIVE
                                6   ENTERTAINMENT LTD.
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                                                         GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                    NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1         Defendant/Counter-Claimant GUEST-TEK INTERACTIVE
                                2   ENTERTAINMENT LTD. (“Guest-Tek”) hereby submits this Second Amended
                                3   Answer to the Amended Complaint of Plaintiff/Counter-Defendant NOMADIX,
                                4   INC. (“Nomadix”) and submits its Second Amended Counterclaims thereto, as
                                5   follows. To the extent not specifically admitted, Guest-Tek denies the allegations
                                6   of the Amended Complaint.
                                7      AMENDED ANSWER TO THE SPECIFIC ALLEGATIONS OF THE
                                8                                 AMENDED COMPLAINT
                                9                       JURISDICTION, PARTIES, AND VENUE
                              10          1.     With respect to Paragraph 1 of the Amended Complaint: Admitted
                              11    only that the parties entered in the License Agreement on December 30, 2010, and
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                              12    that the Amended Complaint purports to state a cause of action for breach of the
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                              13    License Agreement. Guest-Tek denies that the Court has subject matter
                              14    jurisdiction over this dispute. Otherwise denied.
                              15          2.     With respect to Paragraph 2 of the Amended Complaint: Admitted
                              16    only that the Amended Complaint purports to state that Nomadix is a Delaware
                              17    corporation with a principal place of business at 30851 Agoura Road, Suite 102,
                              18    Agoura Hills, California 91301. Guest-Tek is otherwise without knowledge or
                              19    information sufficient to form a belief about the truth of the allegations of
                              20    Paragraph 2 of the Amended Complaint and therefore denies the same.
                              21          3.     With respect to Paragraph 3 of the Amended Complaint: Admitted.
                              22          4.     With respect to Paragraph 4 of the Amended Complaint: Admitted
                              23    only that Paragraph 4 of the Amended Complaint purports to state that Nomadix’s
                              24    damages exceed $11,000,000, and that $11,000,000 is greater than $75,000.
                              25    Otherwise denied.
                              26          5.     With respect to Paragraph 5 of the Amended Complaint: Admitted
                              27    only that the License Agreement contains a Dispute Resolution provision under
                              28    which, after certain requirements for mediation and arbitration have been satisfied,
                                                                                   1
                                                           GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                      NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1   disputes may be brought in the United States District Court for the Central District
                                2   of California, and that, after the mediation and arbitration requirements have been
                                3   satisfied, Guest-Tek consents to personal jurisdiction and venue in that Court.
                                4   Otherwise denied.
                                5          6.    With respect to Paragraph 6 of the Amended Complaint: Admitted.
                                6          7.    With respect to Paragraph 7 of the Amended Complaint: Admitted.
                                7          8.    With respect to Paragraph 8 of the Amended Complaint: Admitted.
                                8          9.    With respect to Paragraph 9 of the Amended Complaint: Admitted.
                                9         10.    With respect to Paragraph 10 of the Amended Complaint: Admitted
                              10    only that Guest-Tek has provided its OneView Internet solution within this judicial
                              11    district including to the hotels identified in Paragraph 10 of the Amended
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                              12    Complaint, and elsewhere. Otherwise denied.
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                              13          11.    With respect to Paragraph 11 of the Amended Complaint: Admitted
                              14    only that Guest-Tek has sent royalty reports to Nomadix and that Guest-Tek has
                              15    made royalty payments to Nomadix. Otherwise denied.
                              16                              FIRST CLAIM FOR RELIEF:
                              17                                BREACH OF CONTRACT
                              18          12.    With respect to Paragraph 12 of the Amended Complaint: Admitted.
                              19          13.    With respect to Paragraph 13 of the Amended Complaint: Admitted
                              20    only that the parties settled the 2009 Litigation in December, 2010, that the License
                              21    Agreement was entered into between them as part of the settlement, and that
                              22    Exhibit 1 to the Amended Complaint purports to be a copy of the License
                              23    Agreement without Schedule B. Otherwise denied.
                              24          14.    With respect to Paragraph 14 of the Amended Complaint: Admitted
                              25    only that the License Agreement was the result of an arm’s length negotiation,
                              26    represented the parties’ intent, and was duly effected on December 30,
                              27    2010. Otherwise the allegations in Paragraph 14 call for a legal conclusion to
                              28    which no response is required, and on that basis, they are denied.
                                                                                  2
                                                          GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                     NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1         15.    With respect to Paragraph 15 of the Amended Complaint: Admitted
                                2   only that the License Agreement granted a royalty bearing, non-exclusive license
                                3   to practice the patents identified in the License Agreement, that the License
                                4   Agreement refers to certain royalty bearing functionalities, and that royalties apply
                                5   beginning in 2011 only to the extent that the functionalities specified in the License
                                6   Agreement were used in connection with certain devices in certain hotels in the
                                7   United States. Otherwise denied.
                                8         16.    With respect to Paragraph 16 of the Amended Complaint: Denied.
                                9         17.    With respect to Paragraph 17 of the Amended Complaint: Admitted
                              10    only that, since 2011, there have been instances in which the OneView Internet
                              11    solutions have been deployed in over 2500 hotels in the U.S. Otherwise denied.
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                              12          18.    With respect to Paragraph 18 of the Amended Complaint: Admitted
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                              13    only that, since the third quarter of 2012, there have been instances in which the
                              14    OneView Internet solution has been deployed in over 2000 U.S. properties.
                              15    Otherwise denied.
                              16          19.    With respect to Paragraph 19 of the Amended Complaint: Admitted
                              17    only that, since the third quarter of 2012, certain deployed OneView Internet
                              18    solutions may have enabled a functionality specified in the License Agreement for
                              19    which Guest-Tek paid a royalty, and that the Amended Complaint purports to
                              20    identify these functionalities as relating to “captive portals, authentication,
                              21    integration with property management systems and bandwidth management.”
                              22    Otherwise denied.
                              23          20.    With respect to Paragraph 20 of the Amended Complaint: Admitted.
                              24          21.    With respect to Paragraph 21 of the Amended Complaint: Admitted
                              25    only that Guest-Tek has stated to one or more customers of its OneView Internet
                              26    solution that it has a license under the Nomadix patents. Otherwise denied.
                              27          22.    With respect to Paragraph 22 of the Amended Complaint: Admitted
                              28    only that Nomadix filed court papers in which it purported to sue iBahn
                                                                                   3
                                                           GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                      NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1   Corporation for infringement of certain Nomadix patents, and that certain of those
                                2   patents purport to be the same patents that Nomadix had asserted against Guest-
                                3   Tek. Guest-Tek is without personal knowledge or information sufficient to form a
                                4   belief as to the truth of the remainder of Paragraph 22 of the Amended Complaint
                                5   and therefore denies the same.
                                6           23.   With respect to Paragraph 23 of the Amended Complaint: Admitted
                                7   only that documents exist that purport to indicate that iBahn Corporation and
                                8   iBahn General Holdings Corporation initiated bankruptcy proceedings in the
                                9   United States Bankruptcy Court for the District of Delaware. Guest-Tek is without
                              10    personal knowledge or information sufficient to form a belief as to the truth of the
                              11    remainder of Paragraph 23 of the Amended Complaint and therefore denies the
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                              12    same.
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                              13            24.   With respect to Paragraph 24 of the Amended Complaint: Admitted
                              14    only that Nomadix filed papers in connection with the iBahn bankruptcy
                              15    proceedings in which it asserted that it was a creditor of the debtors due to alleged
                              16    patent infringement by iBahn, and that Nomadix filed court papers in 2014 which
                              17    it purported to sue iBahn General Holdings Corporation and in which it sought
                              18    damages for alleged patent infringement by iBahn during the bankruptcy
                              19    proceedings. Guest-Tek is without personal knowledge or information sufficient to
                              20    form a belief as to the truth of the remainder of Paragraph 24 of the Amended
                              21    Complaint and therefore denies the same.
                              22            25.   With respect to Paragraph 25 of the Amended Complaint: Admitted
                              23    only that an auction or bidding process was conducted for the sale of certain iBahn
                              24    assets, that Guest-Tek submitted a bid for those assets, and that, to the extent that
                              25    the License Agreement covered or was otherwise applicable to any features or
                              26    functionalities of any of the assets, the License Agreement would preclude
                              27    Nomadix from instituting suit for patent infringement by such iBahn products.
                              28    Guest-Tek is otherwise without personal knowledge or information sufficient to
                                                                                   4
                                                           GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                      NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1   form a belief about the truth of the allegations of Paragraph 25 of the Amended
                                2   Complaint and therefore denies the same.
                                3         26.    With respect to Paragraph 26 of the Amended Complaint: Admitted
                                4   only that in March 2014, the bankruptcy court approved Guest-Tek’s bid and that
                                5   Guest-Tek purchased the iBahn assets referenced in Paragraph 25 hereof. Guest-
                                6   Tek is otherwise without personal knowledge or information sufficient to form a
                                7   belief about the truth of the allegations of Paragraph 26 of the Amended Complaint
                                8   and therefore denies the same.
                                9         27.    With respect to Paragraph 27 of the Amended Complaint: Admitted.
                              10          28.    With respect to Paragraph 28 of the Amended Complaint: Admitted.
                              11          29.    With respect to Paragraph 29 of the Amended Complaint: Admitted
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                              12    only that iBahn sold systems that enabled hotels to provide Internet access service
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                              13    to their customers, and that the iBahn assets that were up for sale in bankruptcy
                              14    included the potential to assume contracts between iBahn and its hotel customers.
                              15    Guest-Tek is otherwise without personal knowledge or information sufficient to
                              16    form a belief about the truth of the allegations of Paragraph 29 of the Amended
                              17    Complaint and therefore denies the same.
                              18          30.    With respect to Paragraph 30 of the Amended Complaint: Admitted
                              19    only that a number of U.S. hotel properties employed iBahn systems prior to
                              20    iBahn’s bankruptcy, that Guest-Tek acquired certain iBahn assets, and that some of
                              21    the U.S. hotel properties that employed those iBahn systems did business with
                              22    Guest-Tek after it acquired the certain iBahn assets. Otherwise denied.
                              23          31.    With respect to Paragraph 31 of the Amended Complaint: Denied.
                              24          32.    With respect to Paragraph 32 of the Amended Complaint: Admitted
                              25    only that the License Agreement states a number of provisions that had to be
                              26    satisfied before Nomadix was entitled to receive any royalties from Guest-Tek, and
                              27    that those provisions are set forth in the License Agreement. Otherwise denied.
                              28    ///
                                                                                  5
                                                          GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                     NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1         33.   With respect to Paragraph 33 of the Amended Complaint: Denied.
                                2         34.   With respect to Paragraph 34 of the Amended Complaint: Admitted
                                3   only that the License Agreement states that Guest-Tek would submit certain
                                4   reports to Nomadix in accordance with certain terms of the License Agreement.
                                5   Otherwise denied.
                                6         35.   With respect to Paragraph 35 of the Amended Complaint: Admitted
                                7   only that Exhibit 2 to the Amended Complaint purports to be a compilation of
                                8   quarterly reports submitted by Guest-Tek to Nomadix. Otherwise denied.
                                9         36.   With respect to Paragraph 36 of the Amended Complaint: Admitted
                              10    only that, since the third quarter of 2012, the OneView Internet solution has been
                              11    deployed in U.S. properties. Otherwise denied.
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                              12          37.   With respect to Paragraph 37 of the Amended Complaint: Denied.
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                              13          38.   With respect to Paragraph 38 of the Amended Complaint: Admitted
                              14    only that Guest-Tek has stated to one or more customers that it has a license under
                              15    the Nomadix patents. Otherwise denied.
                              16          39.   With respect to Paragraph 39 of the Amended Complaint: Admitted
                              17    only that there are properties in which either OneView Internet solutions or iBahn
                              18    Head-End Processors had been deployed. Otherwise denied.
                              19          40.   With respect to Paragraph 40 of the Amended Complaint: Denied.
                              20          41.   With respect to Paragraph 41 of the Amended Complaint: Admitted
                              21    only that Nomadix periodically sent letters to Guest-Tek in which Nomadix alleged
                              22    breach of the License Agreement for allegedly failing to perform its reporting and
                              23    payment obligations and that Guest-Tek’s counsel sent a report for the third quarter
                              24    of 2012 to Nomadix’s counsel on October 30, 2012.
                              25          42.   With respect to Paragraph 42 of the Amended Complaint: Admitted
                              26    only that the License Agreement contains a provision by which Nomadix may
                              27    request certain Guest-Tek source code and configuration files and that Nomadix
                              28    has periodically requested source code and configuration files. Otherwise denied.
                                                                                  6
                                                          GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                     NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1         43.    With respect to Paragraph 43 of the Amended Complaint: Denied.
                                2         44.    With respect to Paragraph 44 of the Amended Complaint: Denied.
                                3         45.    With respect to Paragraph 45 of the Amended Complaint: Denied.
                                4                     ALTERNATIVE DISPUTE RESOLUTION
                                5         46.    With respect to Paragraph 46 of the Amended Complaint: Admitted.
                                6         47.    With respect to Paragraph 47 of the Amended Complaint: Admitted
                                7   only that in January, 2013, Nomadix sent a letter requesting mediation, but
                                8   Nomadix subsequently expressed a desire to avoid mediation, as evidenced by an
                                9   e-mail dated March 4, 2013 from Nomadix’s counsel, William Shreve; Mr.
                              10    Shreve’s March 4, 2013 e-mail stated Nomadix’s desire to resolve the dispute
                              11    informally; Nomadix merely pointed Guest-Tek to a few sample claims and
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                              12    showed Guest-Tek a claim chart but never provided that claim chart to Guest-Tek;
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                              13    and, by letter dated March 10, 2014, Guest-Tek indicated that since the parties
                              14    were unable to reach an agreement, the parties should mediate their dispute; and
                              15    Guest-Tek requested a list of mediators from Nomadix and Guest-Tek stated that
                              16    it would also provide its own list of mediators. Otherwise denied.
                              17          48.    With respect to Paragraph 48 of the Amended Complaint: Admitted
                              18    only that Nomadix had refused to mediate its dispute, that Nomadix agreed to
                              19    mediate its dispute after Guest-Tek advised Nomadix of its obligation to mediate
                              20    the dispute before Nomadix could initiate arbitration or litigation, that Guest-Tek
                              21    advised Nomadix that, under the terms of the Dispute Resolution provision of the
                              22    License Agreement, identification of any arbitrators was inappropriate and
                              23    premature until mediation had been concluded, and that the parties agreed to
                              24    employ Anthony Piazza of Mediated Negotiations as their mediator. Nomadix is
                              25    without knowledge or information sufficient to form a belief about Nomadix’s
                              26    intentions and therefore denies the allegations relating to Nomadix’s purported
                              27    “good faith.” Otherwise denied.
                              28    ///
                                                                                  7
                                                          GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                     NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1         49.    With respect to Paragraph 49 of the Amended Complaint: Admitted
                                2   only that the parties appeared before Mr. Piazza in San Francisco, California on
                                3   April 16, 2014 for the purpose of mediating the dispute, that, as directed by Mr.
                                4   Piazza and the mediation terms and agreement agreed to by the parties, the parties
                                5   were together in the same room at the beginning of the mediation and, thereafter,
                                6   Mr. Piazza placed each of the parties in separate rooms while he shuttled between
                                7   the rooms, that Mr. Piazza spoke with Guest-Tek representatives while he was in
                                8   their room, and that Nomadix’s corporate representative, Charles Reed, and Guest-
                                9   Tek’s corporate representative, Arnon Levy, met privately in one of Mr. Piazza’s
                               10   rooms before the below referenced MOU had been signed by them. Guest-Tek is
                               11   without knowledge or information sufficient to form a belief as to what occurred
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                               12   while Mr. Piazza was in the room with Nomadix and therefore denies the
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                               13   allegations relating thereto.
                               14         50.    With respect to Paragraph 50 of the Amended Complaint: Admitted
                               15   only that late in the day on April 16, 2014, at Mr. Piazza’s instruction, a Guest-Tek
                               16   representative transcribed on a sheet of lined notebook paper words that Mr. Piazza
                               17   had dictated to the Guest-Tek representative based on his communications with
                               18   both parties separately, that Mr. Piazza instructed the Guest-Tek representative to
                               19   title the sheet of paper “Guest-Tek –Nomadix Confidential MOU,” that the
                               20   mediation terms and mediation agreement provide that the mediation proceedings
                               21   were to be kept confidential and statements made in the course thereof were not
                               22   used for any other purpose, and that Exhibit 3 to the Amended Complaint purports
                               23   to be a copy of the MOU. Otherwise denied.
                               24         51.    With respect to Paragraph 51 of the Amended Complaint: Admitted
                               25   that the MOU states in part “The parties stipulate that this satisfies the arbitration
                               26   provision of the settlement and license agreements,” that this language, along with
                               27   the remainder of the MOU, was transcribed by Guest-Tek’s representative as
                               28   dictated and instructed by Mr. Piazza, and that no discussion occurred directly
                                                                                   8
                                                           GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                      NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1   between counsel for the parties about the MOU. Further admitted that the Court
                                2   has stated that “the parties failure to comply with all of the obligations set forth in
                                3   the MOU was not a condition precedent to the satisfaction of the arbitration
                                4   provision in the License Agreement” and “the Court finds that interpreting the
                                5   MOU as having satisfied the arbitration provision of the Lease Agreement [sic]
                                6   upon execution is not an absurd result.” Otherwise denied.
                                7         52.    With respect to Paragraph 52 of the Amended Complaint: Admitted.
                                8         53.    With respect to Paragraph 53 of the Amended Complaint: Admitted
                                9   only that the MOU provided Nomadix with a twelve month period within which to
                               10   retain a mutually agreeable expert to evaluate Nomadix’s claims and that the
                               11   expert would provide a non-discoverable, non-admissible and non-binding expert
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                               12   report, that, within the twelve month period, Guest-Tek attempted to work with
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                               13   Nomadix to retain an expert, that Nomadix did not work with Guest-Tek to retain
                               14   an expert and never retained, or even attempted to retain an expert for purposes of
                               15   facilitating settlement, and that, as a result, Guest-Tek had asserted that Nomadix
                               16   waived any claims it may have had at least up to April 2014. Otherwise denied.
                               17         54.    With respect to Paragraph 54 of the Amended Complaint: Admitted
                               18   only that Nomadix belatedly offered to retain an expert, long after the twelve
                               19   month period had expired, after Nomadix filed suit against Guest-Tek without first
                               20   following the dispute resolution provisions of the License Agreement or following
                               21   the MOU, that Nomadix offered to retain an expert only after Guest-Tek had
                               22   notified Nomadix that it had failed to follow the dispute resolution provisions of
                               23   the License Agreement and MOU, that Guest-Tek had advised Nomadix that the
                               24   twelve month period for retaining an expert had expired and that arbitration was
                               25   then the appropriate vehicle for addressing Nomadix’s dispute, that while Exhibits
                               26   4-6 to the Amended Complaint purport to be correspondence between counsel for
                               27   Nomadix and Guest-Tek relating to, among other things, retention of an expert,
                               28   Exhibits 4-6 are incomplete and misleading and omit earlier correspondence
                                                                                   9
                                                           GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                      NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1   between the parties that belie Nomadix’s allegations, including correspondence
                                2   showing that Guest-Tek sought to engage an expert in accordance with the MOU,
                                3   which Nomadix ignored. Otherwise denied.
                                4         55.    With respect to Paragraph 55 of the Amended Complaint: Admitted
                                5   that the Court has stated that “the parties failure to comply with all of the
                                6   obligations set forth in the MOU was not a condition precedent to the satisfaction
                                7   of the arbitration provision in the License Agreement” and “the Court finds that
                                8   interpreting the MOU as having satisfied the arbitration provision of the Lease
                                9   Agreement [sic] upon execution is not an absurd result.” Otherwise denied.
                               10                                  PRAYER FOR RELIEF
                               11         56.    With respect to the Prayers for Relief: Guest-Tek denies that Nomadix
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                               12   is entitled to the requested relief or any other relief. Nomadix denies all allegations
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                               13   of the Amended Complaint not specifically denied above.
                               14   With respect to the demand for a jury trial: Guest-Tek admits that Nomadix has
                               15   demanded a jury trial but denies that Nomadix has raised any valid or meritorious
                               16   claim in its Amended Complaint.
                               17                 SECOND AMENDED AFFIRMATIVE DEFENSES
                               18         By alleging the following separate and affirmative defenses set forth below,
                               19   Guest-Tek does not agree or concede that it bears the burden of proof or the burden
                               20   of persuasion on any of these issues, whether in whole or in part. For its separate
                               21   and affirmative defenses to the Amended Complaint, Guest-Tek alleges as follows.
                               22                           FIRST AFFIRMATIVE DEFENSE
                               23                                  (Failure to State a Claim)
                               24         The Amended Complaint, and each purported claim therein, fail to state any
                               25   claim against Guest-Tek upon which any of the requested relief may be granted.
                               26   ///
                               27   ///
                               28   ///
                                                                                  10
                                                           GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                      NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1                        SECOND AFFIRMATIVE DEFENSE
                                2                                     (Lack of Standing)
                                3         Nomadix lacks standing to bring or maintain this action.
                                4                          THIRD AFFIRMATIVE DEFENSE
                                5                         (Lack of Subject Matter Jurisdiction)
                                6         The Court lacks subject matter jurisdiction to entertain this action.
                                7                        FOURTH AFFIRMATIVE DEFENSE
                                8                                            (Waiver)
                                9         Nomadix waived any right that it may have had to bring this action for
                               10   failure to follow the Dispute Resolution provisions of the License Agreement.
                               11                          FIFTH AFFIRMATIVE DEFENSE
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                               12                                            (Waiver)
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                               13         Nomadix waived any rights or remedies that it may have had under the
                               14   License Agreement after December 31, 2015 by failing to properly renew the
                               15   License Agreement in accordance with the terms for renewal.
                               16                          SIXTH AFFIRMATIVE DEFENSE
                               17                                            (Waiver)
                               18         Nomadix waived any remedies to which it may have been entitled for any
                               19   alleged breach of the License Agreement by virtue of its actions and inactions after
                               20   the April 16, 2014 mediation.
                               21                       SEVENTH AFFIRMATIVE DEFENSE
                               22                                            (Laches)
                               23         Nomadix’s request for equitable relief is barred by laches. Nomadix
                               24   unreasonably delayed in bringing this action, to the detriment of, and with
                               25   prejudice to, Guest-Tek. By way of example only, and not by limitation, the
                               26   Amended Complaint asserts that Guest-Tek’s alleged contractual violations extend
                               27   as far back as to the third quarter of 2012, but Nomadix was then aware of the
                               28   alleged actions and inactions forming the basis for the Amended Complaint.
                                                                                 11
                                                          GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                     NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1                         EIGHTH AFFIRMATIVE DEFENSE
                                2                                     (Equitable Estoppel)
                                3           Nomadix’s claims are barred by equitable estoppel. By way of example
                                4   only, and not by limitation, Nomadix had represented to Guest-Tek that Nomadix
                                5   would not sue Guest-Tek for any alleged breach of contract. Guest-Tek was not
                                6   aware that Nomadix had either misrepresented Nomadix’s intentions to Guest-Tek,
                                7   or that Nomadix might subsequently have a change of position with respect to this
                                8   representation. Guest-Tek relied upon Nomadix’s representation by continuing, in
                                9   good faith, to report its activities insofar as required by the License Agreement,
                               10   albeit to Guest-Tek’s detriment.
                               11                           NINTH AFFIRMATIVE DEFENSE
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                               12                                       (Unclean Hands)
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                               13           Nomadix’s request for equitable relief is barred by unclean hands. Nomadix
                               14   has repeatedly flouted the License Agreement, and otherwise not acted in good
                               15   faith in its dealings with Guest-Tek, by way of example, but not by way of
                               16   limitations, as set forth in: paragraph nos. 48, 53 and 54 of Guest-Tek’s foregoing
                               17   Amended Answer; Guest-Tek’s Fourth, Fifth, Sixth, Seventh, Eighth, Tenth,
                               18   Fourteenth, and Nineteenth Affirmative Defenses; and, paragraph nos. 13, 15, 16,
                               19   19, 21-23, 38, and 44-50 of Guest-Tek’s Amended Counterclaims.
                               20                          TENTH AFFIRMATIVE DEFENSE
                               21                                     (No Patent Coverage)
                               22           No royalties are due to Nomadix because no Guest-Tek product or service,
                               23   or any feature or functionality thereof, is encompassed by any claim of any of the
                               24   patents licensed under the License Agreement for which a license fee has not been
                               25   paid.
                               26   ///
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                                                           GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                      NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1                       ELEVENTH AFFIRMATIVE DEFENSE
                                2                                      (Patent Invalidity)
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                               10         No royalties are due to Nomadix because any claim of any patent licensed
                               11   under the License Agreement, that Nomadix contends encompasses a Guest-Tek
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                               12   product or service, or any feature or functionality thereof, is invalid for failure to
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                               13   comply with the conditions of patentability, including, but not limited to 35 U.S.C.
                               14   §§ 102, 103 and/or 112.
                               15                        TWELFTH AFFIRMATIVE DEFENSE
                               16                                   (Statute of Limitations)
                               17         Nomadix’s claims are barred by the statute of limitations.
                               18                      THIRTEENTH AFFIRMATIVE DEFENSE
                               19                                     (Waiver of Royalties)
                               20         Nomadix neglected to negotiate, or to negotiate in good faith, the amount of
                               21   royalty rates and license fees
                               22
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                               25                     FOURTEENTH AFFIRMATIVE DEFENSE
                               26                                          (Exhaustion)
                               27         Nomadix’s claims are barred by reasons of exhaustion. By way of example,
                               28   but not by limitation, to the extent that Nomadix’s damages claims are based upon
                                                                                  13
                                                           GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                      NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1   use by a Guest-Tek customer of any Guest-Tek system or service that Nomadix
                                2   alleges is covered by a Nomadix licensed patent, such claims have been exhausted
                                3   by virtue of Guest-Tek’s royalty and/or license fee payments. Still further, by way
                                4   of example, but not by limitation, to the extent Nomadix’s claims are based upon
                                5   an a hotel or other property using an iBahn system or service, any liabilities with
                                6   respect thereto have been discharged through bankruptcy, and therefore
                                7   Nomadix’s claims with respect thereto, and/or with respect to properties that may
                                8   employ such iBahn system or service, have been exhausted.
                                9                      FIFTEENTH AFFIRMATIVE DEFENSE
                               10                                       (Patent Misuse)
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                               18         Nomadix’s claims are barred by reason of patent misuse. By way of
                               19   example, and not by limitation, Nomadix has misused the Licensed Patents by at
                               20   least demanding payment of royalties and/or license fees, through this action and
                               21   otherwise, on Guest-Tek systems and services that are not covered by any of the
                               22   Licensed Patents, and hence are an attempt to force Guest-Tek to pay royalties on
                               23   unpatented systems and services.
                               24                      SIXTEENTH AFFIRMATIVE DEFENSE
                               25                              (Failure to Mitigate Damages)
                               26         Nomadix’s claims are barred for failure to mitigate its alleged damages. By
                               27   way of example, but not by limitation, Nomadix should have followed through
                               28   with the procedure set forth in the Memorandum of Understanding for retaining an
                                                                                 14
                                                          GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                     NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
                           Case 2:16-cv-08033-AB-FFM Document 170 Filed 12/28/17 Page 17 of 27 Page ID #:6314



                                1   expert within the twelve month period specified therein. Had Nomadix done so,
                                2   any damages to which it might now be entitled the damages would have been
                                3   mitigated by virtue of the design around guidance that would have been implicit
                                4   from the expert report.
                                5                                    COUNTERCLAIMS
                                6         Defendant/Counter-Claimant GUEST-TEK INTERACTIVE
                                7   ENTERTAINMENT LTD. (“Guest-Tek”), by and through its counsel of record,
                                8   hereby alleges as follows.
                                9                                    NATURE OF CASE
                               10         1.     This is an action for: (i) breach of contract, specifically breach of the
                               11   Confidential License Agreement dated December 31, 2010 between Guest-Tek and
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                               12   Nomadix, Inc. (“Nomadix”) (“License Agreement”); (ii) breach of a Memorandum
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                               13   of Understanding (“MOU”) between the parties dated April 14, 2014; and (iii) a
                               14   declaration of no patent coverage by Guest-Tek systems. The License Agreement
                               15   is attached hereto as Exhibit 1. A Confidential Amendment to License Agreement,
                               16   bearing an effective date of September 29, 2011 (“CALA”) is attached hereto as
                               17   Exhibit 2. The MOU is attached hereto as Exhibit 3.
                               18                                           PARTIES
                               19         2.      Guest-Tek is an Alberta corporation having its principal place of
                               20   business at Suite 600, 778 8 Ave SW, Calgary, Alberta T2P 3R5, Canada.
                               21         3.     Nomadix has alleged that it is a Delaware corporation having its
                               22   principal place of business at 30851 Agoura Road, Suite 102, Agoura Hills,
                               23   California 91301.
                               24                             JURISDICTION AND VENUE
                               25         4.     The License Agreement specifies a dispute resolution process
                               26   (“DRP”) for all disputes between the parties “arising out of or in connection with”
                               27   the License Agreement. Under the DRP, Nomadix was first required to seek
                               28   arbitration of the dispute described in the Amended Complaint before filing this
                                                                                 15
                                                          GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                     NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1   action, and to first seek mediation of the dispute to the extent that the Amended
                                2   Complaint purports to extend to post-April 16, 2014 royalty payments. Guest-Tek
                                3   has alleged that this action was improvidently initiated and is not properly before
                                4   this Court because Nomadix neglected to follow the DRP. To the extent that
                                5   Guest-Tek’s counterclaims herein “aris[e] out of or in connection with” the
                                6   License Agreement, or are asserted or deemed to so arise, Guest-Tek asserts such
                                7   counterclaims without waiver of its defenses and positions relating to the propriety
                                8   of this action. Accordingly, Guest-Tek’s following allegations relating to
                                9   jurisdiction and venue are made solely for the purpose of preserving its rights and
                               10   do not constitute an admission that the Court has jurisdiction over this action or
                               11   that Nomadix’s action was properly brought or is properly before this Court.
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                               12          5.     The amount in controversy exceeds $75,000.
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                               13          6.     This Court has subject matter jurisdiction over Nomadix under 28
                               14   U.S.C. §§ 1331, 1332, 1338 and 1367.
                               15          7.     This Court has personal jurisdiction over Nomadix at least because: (i)
                               16   Nomadix is already a party to this action; (ii) the License Agreement specifies that
                               17   disputes arising under the License Agreement shall (subject to the DRP) be
                               18   brought in this Court and, with respect thereto, Nomadix has consented to the
                               19   exercise of personal jurisdiction in this Court; (iii) Nomadix has alleged that it is
                               20   incorporated in California; and (iv) Nomadix has alleged that its principal place of
                               21   business is in this district.
                               22          8.     Venue is proper in this district at least because: (i) Nomadix is already
                               23   a party to this action; (ii) Nomadix has waived any objections to venue in this
                               24   district; (iii) Nomadix has alleged that it is incorporated in California; and (iv)
                               25   Nomadix has alleged that its principal place of business is in this district.
                               26   ///
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                                                            GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                       NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
                          Case 2:16-cv-08033-AB-FFM Document 170 Filed 12/28/17 Page 19 of 27 Page ID #:6316



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                                3         26.    The CALA recites provisions under which Guest-Tek shall, under
                                4   certain circumstances, provide to Nomadix and/or a designated Nomadix
                                5   representative (collectively, for purposes of paragraph nos. 26 – 31 of this First
                                6   Counterclaim, “Nomadix”) confidential source code used by and/or in certain
                                7   Guest-Tek systems and services
                                8         27.    The CALA contains an attachment identified therein as Exhibit 1
                                9   which recites additional obligations of Nomadix, including how Nomadix must
                               10   handle and maintain the source code provided to Nomadix by Guest-Tek under the
                               11   CALA.
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                                                          GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                     NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                4         32.    Guest-Tek provided written notice of the aforementioned breaches of
                                5   the License Agreement, including the specific claims and bases therefore, by letter,
                                6   more than 60 days prior to the filing of these counterclaims. As a direct,
                                7   foreseeable and proximate result of Nomadix breaches of the License Agreement,
                                8   Guest-Tek has suffered damages in an amount to be proven at trial, which is no
                                9   less than the royalty and/or license fees that Guest-Tek has paid to Nomadix since
                               10   January 1, 2012, plus interest, fees and costs.
                               11                                   SECOND COUNTERCLAIM
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                               12                   Breach of Contract (Memorandum of Understanding)
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                               13                                          (Against Nomadix)
                               14          33. Guest-Tek hereby realleges and incorporates by reference the
                               15   allegations of Paragraphs 1 through 32 above as if fully set forth herein.
                               16          34. The MOU was a valid and enforceable written agreement binding
                               17   upon Nomadix.
                               18          35. The MOU provided that the arbitration provision of Section 7.2 would
                               19   be satisfied if, within twelve (12) months of the April 14, 2014 mediation, the
                               20   parties retained a mutually agreeable expert to evaluate Guest-Tek’s systems and
                               21   services who would opine as to whether they were covered by the License
                               22   Agreement, and therefore royalty bearing.
                               23          36. Nomadix refused to cooperate with Guest-Tek in retaining an expert
                               24   within the specified twelve month period.
                               25          37. As a result of Nomadix’s refusal to cooperate with Guest-Tek in
                               26   retaining an expert, no expert was ever retained.
                               27   ///
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                                                           GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                      NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1          38. As a result of Nomadix’s refusal to cooperate with Guest-Tek and
                                2   Nomadix’s failure to work with Guest-Tek to retain an expert, Nomadix breached
                                3   the MOU.
                                4          39. As a direct, foreseeable and proximate result of Nomadix’s breach of
                                5   the MOU, Guest-Tek has suffered damages at least in an amount of its reasonable
                                6   outlays and expenditures toward performance of the MOU, including, but not
                                7   limited to, Guest-Tek’s outlays and expenditures in investigating, locating and
                                8   identifying a proposed expert, and in proposing an expert to Nomadix, and in
                                9   following up with Nomadix regarding a proposed expert, and as otherwise to be
                               10   proven at trial.
                               11                                 THIRD COUNTERCLAIM
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                               12                             Declaration of No Patent Coverage
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                               13                                       (Against Nomadix)
                               14          40.    Guest-Tek hereby realleges and incorporates by reference the
                               15   allegations of Paragraphs 1 through 39 above as if fully set forth herein.
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                                                            GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                       NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                               22         44.    None of the Asserted Patent Claims read on or cover the OVI
                               23   Solutions.
                               24         45.    The OVI Solutions are not royalty bearing under the Asserted Patent
                               25   Claims.
                               26         46.    Guest-Tek seeks a declaration that none of the Asserted Patent Claims
                               27   reads on or cover the OVI Solutions, that the OVI Solutions are not royalty bearing
                               28

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                                                          GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                     NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1   under the Asserted Patents, and that Guest-Tek owes no royalties to Nomadix
                                2   under the Asserted Patents by virtue of the OVI Solutions.
                                3         47.       Nomadix has not specifically asserted that the claims of any Nomadix
                                4   patents, other than the Asserted Patent Claims, read on or cover the OVI Solutions.
                                5         48.       Guest-Tek reserves the right to assert and counterclaim that no other
                                6   Nomadix patent or patent claim allegedly encompassed by the License Agreement
                                7   reads on or covers the OVI Solutions.
                                8         49.       Nomadix’s Complaint asserts that the RendezView Solutions, the
                                9   Mercury Solutions, the HEPs, and the GTC Solutions (collectively “the non-OVI
                               10   solutions”) are royalty bearing, but Nomadix has not provided any basis therefor,
                               11   has not identified any specific patents or patent claims that it asserts read on or
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                               12   cover such devices, and has not specifically asserted any Nomadix patents, or any
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                               13   claims thereof, against the non-OVI solutions.
                               14         50.       Guest-Tek reserves the right to assert and counterclaim that no
                               15   Nomadix patent or patent claim reads on or covers any of the non-OVI solutions if
                               16   Nomadix hereafter specifically asserts that any patents or patent claims against any
                               17   non-OVI solution.
                               18                                     PRAYER FOR RELIEF
                               19         WHEREFORE, Guest-Tek prays for the following relief:
                               20                   a.     an order adjudging Nomadix to have breached the License
                               21   Agreement as set forth herein;
                               22                   b.     an order adjudging Nomadix to have breached the MOU as set
                               23   forth herein;
                               24                   c.     an award of general, compensatory, consequential and special
                               25   damages arising from Nomadix’s breaches of the License Agreement and the
                               26   MOU;
                               27                   d.     an award of all legal fees and costs, including attorneys’ fees
                               28   that Guest-Tek incurs in connection with both the defense of the action brought by
                                                                                     23
                                                              GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                         NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
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                                1   Nomadix against Guest-Tek and the preparation and conduct of these
                                2   counterclaims;
                                3                e.     a declaration that none of Asserted Patent Claims reads on or
                                4   cover the OVI Solutions, that the OVI Solutions are not royalty or license fee
                                5   bearing under the Asserted Patents, and that Guest-Tek owes no royalty and/or
                                6   license fees to Nomadix under the Asserted Patents by virtue of the OVI Solutions;
                                7                f.     an order of specific performance under the License Agreement
                                8   with respect to Nomadix’s obligations to negotiate royalty rates, to provide
                                9   updated Schedule F’s to Guest-Tek, and to provide to Guest-Tek a log of all
                               10   persons who entered the locked room to view Guest-Tek’s source code and a list of
                               11   all persons who have access to the keys to the locked room;
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                               12                g.     an order of rescission of the MOU;
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                               13                h.     an order of specific performance of Nomadix’s obligations
                               14   under the MOU to retain an expert;
                               15                i.     for costs of suit incurred herein; and,
                               16                j.     for such other and further relief as this Court may deem just and
                               17   proper.
                               18
                                     Dated: December 21, 2017                Respectfully submitted,
                               19
                               20                                            BAKER & HOSTETLER LLP
                               21
                                                                             By:        /s/ Michael R. Matthias
                               22                                                       Michael R. Matthias
                                                                                        Steven J. Rocci
                               23                                                       Kevin M. Bovard
                                                                                        Michael J. Swope
                               24
                                                                             Attorneys for Defendant/Counter-Claimant
                               25                                            GUEST-TEK INTERATIVE
                                                                             ENTERTAINMENT LTD.
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                                                           GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
                                                      NOMADIX’S AMENDED COMPLAINT FOR BREACH OF CONTRACT; CASE NO. 2:16-CV-08033-AB-FFM
                           Case 2:16-cv-08033-AB-FFM Document 170 Filed 12/28/17 Page 27 of 27 Page ID #:6324



                                1                             DEMAND FOR JURY TRIAL
                                2         Defendant/Counter-Claimant hereby demands trial by jury on all issues so
                                3   triable with respect to their Counterclaims.
                                4
                                5    Dated: December 21, 2017               Respectfully submitted,
                                6
                                                                            BAKER & HOSTETLER LLP
                                7
                                8                                                      /s/ Michael R. Matthias
                                                                            By:
                                9                                                      Michael R. Matthias
                                                                                       Steven J. Rocci
                               10                                                      Kevin M. Bovard
                                                                                       Michael J. Swope
                               11
                                                                            Attorneys for Defendant/Counter-Claimant
B AKER & H OSTE TLER LLP




                                                                            GUEST-TEK INTERATIVE
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                                                          GUEST-TEK’S SECOND AMENDED ANSWER AND SECOND AMENDED COUNTERCLAIMS TO
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